
PER CURIAM.
By petition for writ of certiorari, we are requested to review a decision of the District Court of Appeal, Second District, 245 So.2d 265, which allegedly conflicts with prior decisions of this Court.
Our initial examination of the petition and record suggested a possible jurisdictional conflict. We issued the writ and have heard arguments on both jurisdiction and merits.
After a thorough consideration of the petition and record, we are now led to conclude. that no jurisdictional conflict of decisions is present. Finding, therefore, that the writ was improvidently issued, it is hereby discharged.
It is so ordered.
CARLTON, ADKINS and BOYD, JJ., and DREW, J. (retired), concur.
ROBERTS, C. J., dissents.
